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                                                                                         •~.;   L   -   ...




                           UNITED STATES DISTRICT COUR                  21SEP 27 PM I: 58
                           WESTERN DISTRICT OF TENNESSEE
                              • Eastern (Jackson)DlVlSlON               THO Mt\: :·,I . G~lL'..."
                                                                    CLE K, U.S. r.isn r' ' ,-
                             )5Western(Mernphis) DIVISION              Hl'.VD or -;-· ·, _-

                                                  )
                                                  )
              Plaintiff,                          )
                                                  )
                                                  )                                     No. - - - - - -
                                                  )
                                                  )
                                                  )
                                                  )



                                           COMPLAINT




 1.    This action is brought for discrimination in employment pursuant to (check only those
       that apply):


                      Title Vil of the Civil Rights Act of 1964, as codified, 42 U.S.C. §§ 2000e
                      to 2000e-l 7 (amended in 1972, 1978 and by the Civil Rights Act of 1991,
                      Pub. L. No. 102-166) (race, color, gender, religion, national origin).
                      NOTE: In order to bring a suit in federal district court under Title Vil,
                      you must first obtain a right to sue letter fi'om the Equal Employment
                      Opportunity Commission.


              •       Age Discrimin ation in Employment Act of I 967. as codified, 29 U.S .C. §§
                      62 I - 634 ( amended in 1984, 1990, and by the Age Discrimination in
                      Employment Amendments of 1986, Pub . L. No. 92-592 , the Civil Rights
                      Act of 1991 , Pub, L. No. 102-166)
                      NOTE: In order to bring a suit i11 federal district court under the Age
                      Discrimination in Employment Act, you must first file charges with the
                      Equal Employment Opportunity Commission.


             •        Americans with Disabilities Act of 1990, as codified, 42 U .S.C. §§ 121 12
                      - 12117 (amended by the ADA Amendments Acts of 2008, Pub. L. No.
                       110-325 and the Civil Rights Act of 1991, Pub. L. No. 1102-166).
                      NOTE: in order to bring a suit in federal district court under the
                      Americans with Disahilities Act. yo u must .first obtain a right to sue letter
                      from the Equal Employment Opportunity Commission.
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                                          JURISDICTIO~

 2.     Jurisdiction is specifically conferred upon this United States District Court by the
        aforementioned statutes, as well as 28 U.S .C. §§ 1331 , 1343 . Jurisdiction may also be
        appropriate under 42 U. S .C . §§ 1981 , 1983 and 1985(3), as amended by the Civil Rights
        Act of 1991, Pub. L. No. 102-166, and any related claims under Tennessee law.

                                              PARTIES




                                        STREET A DRESS                 (

 --5l1-eily. IN . 3ff13lf .fol)
        County                  State                   Zip Code      Telephone Number
                                                                                      'lt;f/- {Yiv
 4.     Defendant(s) resi~s at, or its l}1 siness is located at:

      LJ.11Un1{}1 ttiJe                 STREET ADDRESS

      S Ae-{hy /1eA'H7di,.s _..--__.__I_IV_
        County                  City                    State
                                                                           3? II/
                                                                           Zip Code

 NOTE: If more than one defendant, you must list the names, address of each additional
 defendant.




 5.     The address at which Tsought employment or was employed by the dcfcndant(s) is :

         I:J./ I Uatrn Av c.
                                                    2
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                                            STREET ADDRESS

 !> Ae,,L lv . ;i1 e1nt2ht's .
       County         ·          City   7
                                                         /tLJ
                                                          State
                                                                           3<?!//
                                                                             Zip Code

 6.    The discriminatory conduct of which I complain in this action includes (check only those
       that apply)




              ·~
                  •       Failure lo hire

                          Tenninalion of my employment


                  •       Failure lo promote


                  •       Failure to accommodate my disability

               la         Unequal terms and conditions of my employment


              ~           Retaliation


                  •
 NOTE: Only those grounds raised in the charge .flied with th e Equal Employment Opportunity
 Commission can be considered by the federal district court.

 7.

        Date(s)

 8.    l believe Lhal the defen<lant(s) (check one):



                  •       is still committing these acts agai nst me.


              'B-         is not still committing these acts against me.


 9.     Defendant(s) disc1iminated against me based on my:
        (check only those that appl,v and state the basis for tli e discrimination. For example, if
        religiou.~discrimination is alleged, state your reliKion. fl racial discrimination is alleged,
        sta te your race, etc.)

                                                     3
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               ~       Race___,_&_.~~-N_._&i_r~J~
                                               -     _s__      fh~£,_',/_"'1(_e___4,_· A
                                                                                       ~ J~---

               •       Color- - - - - - - - - - - - - - - - - - - - - - - -


               •       Gender/Sex·- - - - - - - - - - - - - - - - - - - - - -


               •       Religion_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


               •       National Origin_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


               •       Disability_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


               •       Age. Ir age is checkeu. answer lhe following:
                       I was born in_ _ _ _ _ _ . At the time(s) defendant(s) discriminated
                       against me.

                       l was [ ] more [ ] less than 40 years old. (check one)

 NOTE: Only those grounds raised in the charge filed the Equal Employment Opportuni(v
 Commission can be considered by the federal district court.

 10.    The facts of my case are as follows:

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  +-e,n,,; ivv.fc:__         Aer mya/4rMd_ c.f=h -S /2c Offoscd
--fh-e- ttdi1J6 ])e.Fedahf '~


                              Attach additional sheets as necessary)

 NOTE: As additional support for your claim, you may attach to this complaint a copy qf the

                                                 4
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     Question # 10 Additional Sheets

     a. Plaintiff began her employment with Defendant on or around November 17, 2015, in the

          position of Administrative Assistant.

     b. Plaintiff held two part time positions with Defendant, Administrative Assistant and

          Humanitarian Fund Coordinator.

     c. Plaintiffs last pay at the time of termination was at $21,14 an hour.

     d. On or around December 9, 20 19, Plaintiff was suspended after she was subjected to her

          files being edited.

     e. Defendant suspended Plaintiff on December 5, 2019.

     f.   On or around January 7, 2020, Defendant terminated Plaintiff while she was working in

          the position of Humanitarian Fund Coordinator.

     g. Before Plaintiff was terminated, on or around December 2019, and again before January

          7, 2020, she reported and complained to Human Resources that none of her reports of

          inappropriate racial comments made by the Director of CPE were investigated.

     h. Defendant overlooked Plaintiff 's complaints as if she had not reported either harassment

          and discrimination based upon her race African American and her incorrect pay.

     i.   Plaintiff exercised her right to engage in protected activity when she reported to Human

          Resources about her incorrect pay and she specifically asked Human Resources to check

          into her pay.



          Count 1: RACE

     j. Plaintiff reasonably believes that she was discriminated against because of my race,

          African American.


  Question # 10
  Plaintiff, Joyce Goodwin Pro Se Lawsuit Facts
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      k. Plaintiff worked two positions and was not given the same pay the last Non-African

           American Humanitarian Coordinator was paid despite the fact that they both did the same

           job which was considered a director position.

           Plaintiff was told by Defendant's Management, Director Rhonda Gilligan Gillespie,

           Director of Clinical Pastoral Department that while people were better than blacks and

           blacks should do as they were told.

      I.   Plaintiff was told by Defendant' s Management, Director Rhonda Gilligan Gillespie that

           she was mistreating Plaintiff because she was black, and she could not help the way that

           she was raised.

      m. Plaintiff was told by Defendant's Management, Director Rhonda Gilligan Gillespie that

           she was black and therefore she was not going to receive the director's pay raise for the

           Humanitarian Fund position.

      n. Plaintiff had to work fu\l time hours over 35 to 40 hours weekly under an Administrative

           Asst position under the leadership of Rhonda Gilligan Gillespie which should have been

           only 20 hours weekly .

      o.    Defendant's Management, Director Rhonda Gilligan Gillespie Rhonda stress that

           Plaintiff had to work long hours because she was black and when she wanted Plaintiff to

           regardless or not if Plaintiff was tired.

      p. Defendant's Management, Director Rhonda Gilligan Gillespie would make sure Plaintiff

           knew that she could make it where Plaintiff did not work for Methodist if she did not do

           as she was told.

      q.    Plaintiff worked two positions which were part time however she had to work between
           ~o - lotl
           ~weekly total hours for Director Rhonda.


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   Plaintiff, Joyce Goodwin Pro Se Lawsuit Facts
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     r. Even when Plaintiff didn't work under Director Rhonda's leadership, she would harass

          her.

     s. Defendant's Management, Director Rhonda Gilligan Gillespie continuously to informed

          Plaintiff that she did not deserve and was not going to receive a pay raise or title change

          for her second position she held because she was black.

     t.   Defendant's Management, Director Rhonda Gilligan Gillespie informed and bragged to

          Plaintiff that she had not given Ruthie Hayes another black employee a raise or title

          change, and she has been in her position working various higher paid positions for years

          under the same title as an administrative admin and did receive higher pay or another

          title.

     u. Bonnie Oliver- Brandon was one of the black CPE students that was harassed the same

          way Plaintiff was.

     v. Director Rhonda Gilligan Gillespie told Plaintiff that Bonnie wac; black and that was why

          she treated her disrespectfully and she talk too much, and blacks needed to stay in their

          place.

     w. Director Rhonda Gillespie would allow and informed Plaintiff that she was going to get

          rid of one of the black students to allow Daniel (a white student) a place to work for a

           2nd year due to whites come before black and that was how God wanted it to be.

     x. Director Gillespie would do things to go against Plaintiff because she spoke up about

          racist subjects and statements that Director Rhonda would say.

     y. Director Gillespie would allow white classmates to infonn the black students that they

          were racist and what they felt and didn't like about black people.




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    z. Plaintiff was told hy Director Rhonda Gilligan Gillespie that she would sometimes ask a

        black director to sit in a session with her with a black male informing Plaintiff that black

        males were aggressive with her.

    aa. For black residents Rhonda Gilligan-Gillespie would tell Plaintiff that she will not hire

        them over whites.

    bb. Bonnie Oliver- Brandon was one of the black students as to whom she would harass, and

        she would tell Plaintiff that it was because she talked to much and she needed to stay in

        her place as a black person.

    cc. Director Gillespie fired a black guy referred to as Dee (Adcmola Okunola Sodeinde) to

        allow a white resident Daniel Webb to do a 2nd year residency.

    dd. Director Gillespie She falsified a black student Hattie McKinney's document to make

        sure she would be terminated.



    ee. Plaintiff as a female African American Humanitarian fund Coordinator exercised her

        discretion to stop the payment of a check because she reasonably believed it was stolen at

        the time the check was presented for payment.

    ff. It was nol uncommon to stop payments. However, a white male Humanitarian Fund

        Coordinator in the same position as Plaintiff was did not get suspended or terminated

        when he exercised his discretion to stop fund check payments.




        COUNT II: RETALIATION




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 Plaintiff, Joyce Goodwin Pro Se Lawsuit Facts
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    gg. Plaintiff reasonably believes she was subjected to unlawful retaliation and later

        terminated after she engaged in protected activity when she reported her complaints to

        Human Resources of inappropriate racial comments.

    hh. Plaintiff reasonably believes she was subjected to unlawful retaliation and later

        terminated after she engaged in protected activity when she reported her complaints to

        Human Resources of receiving incorrect pay.

    COUNT Ill: HOSTILE WORK ENVIRONMENT




    ii. Both the inappropriate racial comments made and fai lure to investigate Plaintiff's

        allegations created undue tension and a hostile working environment.

    jj. Defendant's actions caused Plaintiff to feel threatened when especially after her

        supervisor told her not to ask any further questions about her pay to Hunan Resources.

    kk. Plaintiff fe lt like she was subjected to further hostile work environment when Defendant

        prevented and discouraged her from also not asking questions about the amount of grant

         funds to the finance department when she was the grant coordinator.

    11. Plaintiff 1 was told by Defendant's management that she was making trouble.

    mm.            Defendant accused Plaintiff of inappropriate behavior and mismanagement of

         funds .

    on. Defendant later placed on the official separation notice the accusations stated on item 0

         above however the Appeals Tribunal of the Tennessee Department of J,abor and

         Workforce Development awarded unemployment benefits to Plaintiff.




 Question # 10                                                     Page Number _  4_£
                                                                                    __
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     oo. The Tennessee Department of Lahor and Workforce Development concluded and ruled

         that Defendant failed to produce any evidence that Plaintiff engaged in any misconduct

         nor materially breached a duty.

     pp. After Plain ti ff reported harassment and racism to Human Resources Linda Hayes on

         Director Rhonda Gilligan Gillespie Plaintiff was harassed by her Humanitarian Fund

         Boss Niels French and the SVP in the department Albert Mosley and the finance

         department Lori Dale as well as Humanitarian Fund HR director Tina Sims.

     qq. Niels French informed Plaintiff that she was not receiving a pay raise because Director

         Rhonda would not agree to sign the title change paperwork to give her the higher pay .

     rr. Based upon Defendant's actions, Plaintiff believes she was discriminated and retaliated

         against due to being told that the reason was because she was black and white people are

         superior to black people and that is the way God saw for it to be . .

     ss. Plaintiff 's reporting discrimination to Human Resources Linda Hayes and Niels French

         Director of Operations/ Humanitarian Fund and when Linda Hayes would try to connect

         with Niels French so she could bring us all in for a mediation (Rhonda Gilligan-Gillespie

         and Niels French) Niels French would ignore Plaintiffs calls and messages.

     tt. Plaintiff reached out to the SVP per HR Linda Hayes advice due to Niels French ignoring

         her.

     uu. Albert Mosley SVP didn't return Plaintiffs reply but informed Plaintiff that he would get

          back with her a month after she emailed message to him.

     Tennessee Unemployment Appeals Hearing Ruled Against Defendant and Rewarded

     Plaintiff lJnemplovment Benefits Because Defendant Failed to Prove Misconduct




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     vv. Defendant ' s Darryl Arbor, the auditor that help Tina Sims with tenninati ng Plaintiff

         represented Methodist at the appeal hearings testified to the Appeals Tribunal that

         Plaintiff informed him that she exhibited inappropriate behavior.

     ¼'W.         Defendant's Darry l Arbors made false statements to the hearing judge pe~juring

         himself under oath.

     xx. Plaintiff believes the Appeals Tribunal hearing recording is evidence to reveal that Darryl

         Arbor committed perjury and the recording >Viii reflect that I did not admit to any

         wrongdoing as to what Darryl falsely stated al the appeal heari ng.

     yy. Defendant' s Tina Sim s stated that Plaintiff conducted inappropriate behavior and

         mismanagement of funds that was listed on separation notice.

     zz. Defendant failed to prove neither that Plaintiff engaged in inappropriate behavior or

         mismanagement of fund s.




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  charge filed ·with the Equal Employment Opportunity Commission or the Tennessee Human
  Rights Commission.

  11.    It is my best recollection that I filed a charge with the Tennessee Human Rights
         Commission regarding c.lefendanfs alleged discriminatory conduct on:_ _ __

  12.    It is my best recollection that I filed a charge with the Equal Employment Opportunity
         Commission regarding defendant's alleged discriminatory conduct on: ~ - / :J-.cJ. 0 2         D
                                                                                      Date

  Only litigants alleging age discrimination must answer Question #13.

  13.    Since filing my charge of age discrimination with lht! Equal Employment Opportunity
         Commission regarding defendant's alleged discriminatory conduct. (ch eck one):



                •       60 days or more have elapsed


                •       Less than 60 days have elapsed.

  14.    The Equal Employment Opportunity Commission (check one):



                •       has not issued a Right to Sue Ldter.


               ~        has issued a Right to Sue letter, which I received on     1- ~-~DJ-)
                                                                                  Date

  NOTE:       This is the date you received the RiRht to Sue letter,       110!   the date the Equal
  Empiuyment Opportunity Commission issued the Right to Sue letter.

  15.  Attach a copy of the Right to Sue letter from the Equal Employment Opportunity
  Commission to this complaint.

  NOTE: You must attach a copy of the right to sue letter from the Equal Employment Opportunity
  Commission.

   16.   I would like to have my case tried by a jury:

               1&       Yes


                •       No


                                                  5
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          WHEREFORE, plaintiff prays that the Court grant the following relie f:


                 •      direct that the Defendant employ Plaintiff, or


                 •      direct that Defe.n dant re-employ Plaintiff, or


                 •      direct that Defendant promote Plaintiff, or


                 •      order other equitable or injunctive relief as follows: _ _ _ _ _ _ __


                        - - - - - - - - - - - - - - - - - - - - - - - - - r , m . . . . . , ;·1c.r1<;-t~f1t-,
                                                                                         91   1/ 1 ,/,,,         n; €11J. cP
                        direct that Delemlanl pay Plaintiff back pay in lhe amount of   -/fc:;(   •   '-1L,v'-      Ct..st
                        and interest on back pay;                                                      /


                 •      direct that Defendant pay Plaintiff compensat~r~damages: S()ecify the J ,
                                                                      :JO~ tJlJV /811_ -e,fVl,af,t)\.4..1,
                        amount and basis for compensatory damages : .!/J        I
                                                                                                          I


                        ~~~ l'IA-tdJ          )rflJc.J 5lvckct.,V:-t ,HJn_ tu1 lJ.'1-1 frc:,J,·tc5
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                                             sroiiuREFPLA1NTIFF

~ Date:   9- & 4 -           8-Cd- l
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